USCA11 Case: 23-12923     Document: 14      Date Filed: 09/26/2023   Page: 1 of 32


                               No. 23-12923-D

                UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT


                            MARCUS CASTER, et al.,
                                        Plaintiffs-Appellees,

                                       v.

 HON. WES ALLEN, in his Official Capacity as the Secretary of State of Alabama,
                                          Defendant-Appellant.


               On Interlocutory Appeal from the United States
              District Court for the Northern District of Alabama
                            No. 2:21-cv-1536-AMM

      APPELLANT’S MOTION TO WITHDRAW APPELLANT’S
     TIME SENSITIVE MOTION FOR STAY PENDING APPEAL

                                       Steve Marshall
                                         Attorney General
                                       Edmund G. LaCour Jr.
                                         Solicitor General
                                       James W. Davis
                                         Deputy Attorney General
                                       Misty S. Fairbanks Messick
                                       Brenton M. Smith
                                       Benjamin M. Seiss
                                       Charles A. McKay
                                         Assistant Attorneys General
                                       OFFICE OF THE ATTORNEY GENERAL
                                       501 Washington Avenue,
                                       Montgomery, AL 36130
                                       (334) 242-7300
                                       Edmund.LaCour@AlabamaAG.gov
                                       Counsel for Appellant
 USCA11 Case: 23-12923        Document: 14    Date Filed: 09/26/2023   Page: 2 of 32
                                                       Caster v. Allen, No. 23-12923-D

                CERTIFICATE OF INTERESTED PERSONS
      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit Rule

26.1-1 and 26.1-2, the undersigned counsel certifies that the following listed persons

and parties may have an interest in the outcome of this case:

1)     Acharya, Avidit

2)    Adams, Hon. Jerusha T.

3)    Adegbile, Debo P.

4)    Aden, Leah

5)    Aderholt, Rep. Robert

6)    Agricola, Jr., Algert Swanson

7)    Agricola, Barbara H.

8)    Agricola Law, LLC

9)    Alabama Attorney General’s Office

10)   Alabama Center for Law and Liberty

11)   Alabama Democratic Conference

12)   Alabama Legislative Black Caucus

13)   Alabama State Conference of the NAACP

14)   Allen, Amanda N.

15)   Allen, Hon. Richard F.

16)   Allen, Hon. Wes

17)   America First Legal Foundation


                                      C-1 of 28
 USCA11 Case: 23-12923         Document: 14   Date Filed: 09/26/2023   Page: 3 of 32
                                                      Caster v. Allen, No. 23-12923-D

18)   American Bar Association

19)   American Civil Liberties Union Foundation

20)   American Civil Liberties Union of Alabama

21)   American Legislative Exchange Council

22)   Amunson, Jessica Ring

23)   Andrews, Darryl

24)   Ashmore, Susan

25)   Ashton, Anthony

26)   Atkins, Robert A.

27)   Baker & Hostetler LLP

28)   Balch & Bingham LLP

29)   Bannon, Alicia L.

30)   Barnes, Anna Kathryn

31)   Barreto, Matt A.

32)   Barry, Nicholas

33)   Beato, Michael

34)   Beatty, Rep. Joyce

35)   Becker, Amariah

36)   Benbrook, Bradley A.

37)   Benbrook Law Group, PC

38)   Berger, Sen. Philip E.

                                      C-2 of 28
 USCA11 Case: 23-12923       Document: 14   Date Filed: 09/26/2023   Page: 4 of 32
                                                    Caster v. Allen, No. 23-12923-D

39)   Berry, Jonathan

40)   Billingsley, Eddie

41)   Birnbaum, Sheila L.

42)   Bishop, Kimberley A.

43)   Blacksher, James Uriah

44)   Blackwell, Matthew

45)   Blankenship, Joel R.

46)   Blankenship Law Firm, LLC

47)   Bloom, III, H. William

48)   Bobrow, Anna

49)   Bokat-Lindell, Noah B.

50)   Bonta, Hon. Rob

51)   Born, Emily J.

52)   Bowdre, A. Barrett

53)   Boyden Gray & Associates

54)   Bracy, Jr., Rep. Napoleon

55)   Braden, Efrem Marshall

56)   Bradley, Neil

57)   Branch, Aria C.

58)   Braun, Sen. John

59)   Brennan Center for Justice

                                    C-3 of 28
 USCA11 Case: 23-12923         Document: 14   Date Filed: 09/26/2023   Page: 5 of 32
                                                      Caster v. Allen, No. 23-12923-D

60)   Brnovich, Hon. Mark

61)   Bronson, Kristin M.

62)   Brown, Mitchell

63)   Brown, W. Tucker

64)   Bucks County, Pennsylvania

65)   Burr and Forman LLP

66)   Burrell, Ashley

67)   Burroughs, Kate

68)   Buschbacher, Michael

69)   Butterfield, Rep. G.K.

70)   Byrd, Arkie

71)   Cage, Edgar

72)   Cameron, Hon. Daniel

73)   Campaign Legal Center

74)   Campbell, Matthew

75)   Campbell-Harris, Dayton

76)   Carl, Jr., Rep. Jerry

77)   Carlton, Alexandra

78)   Carr, Hon. Chris

79)   Carter, Brittany

80)   Caster, Marcus

                                      C-4 of 28
 USCA11 Case: 23-12923         Document: 14   Date Filed: 09/26/2023   Page: 6 of 32
                                                      Caster v. Allen, No. 23-12923-D

81)   Cedarbaum, Adam

82)   Center for Fair Housing

83)   Central Alabama Fair Housing Center

84)   Chakraborty, Amitav

85)   Chaudhuri, Pooja

86)   Cheek, Jason R.

87)   Chen, Jowei

88)   Chestnut, LaKeisha

89)   Chiu, David

90)   Christie, Jr., J. S. “Chris”

91)   Citizens United

92)   Citizens United Foundation

93)   City and County of Denver, Colorado

94)   City and County of San Francisco, California

95)   City of Austin, Texas

96)   City of Baltimore, Maryland

97)   City of Boston, Massachusetts

98)   City of Cincinnati, Ohio

99)   City of Cleveland, Ohio

100) City of Columbus, Ohio

101) City of Gary, Indiana

                                      C-5 of 28
 USCA11 Case: 23-12923      Document: 14      Date Filed: 09/26/2023   Page: 7 of 32
                                                      Caster v. Allen, No. 23-12923-D

102) City of Houston, Texas

103) City of Los Angeles, California

104) City of Madison, Wisconsin

105) City of Montgomery, Alabama

106) City of New York, New York

107) City of Oakland, California

108) City of Philadelphia, Pennsylvania

109) City of Pittsburgh, Pennsylvania

110) City of Saint Paul, Minnesota

111) City of San Diego, California

112) City of Santa Fe, New Mexico

113) City of South Bend, Indiana

114) Clark, Matthew J.

115) Clarke, Hon. Kristen

116) Cleary, Yahonnes

117) Cleland, Bartlett

118) Clemon, Hon. U.W.

119) Coastal Alabama Partnership

120) Cole, David D.

121) Coleman, Craig S.

122) Coleman, Jeff

                                       C-6 of 28
 USCA11 Case: 23-12923      Document: 14    Date Filed: 09/26/2023   Page: 8 of 32
                                                    Caster v. Allen, No. 23-12923-D

123) Coleman, Sen. Merika

124) Coleman-Madison, Sen. Linda

125) Commonwealth of Kentucky

126) Commonwealth of Massachusetts

127) Commonwealth of Pennsylvania

128) Compass Demographics, Inc

129) Congressional Black Caucus

130) Constitutional Accountability Center

131) Cooley LLP

132) Cornelius, Hon. Staci G.

133) Cortes, Diana P.

134) Council of the City of New York, New York

135) County of Alameda, California

136) County of Marin, California

137) County of Santa Clara, California

138) Covington & Burling LLP

139) Cozen O’Connor

140) Croslin, Chike

141) Crum, Travis

142) Danforth, Sen. John R.

143) Data, Sonika R.

                                     C-7 of 28
 USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023   Page: 9 of 32
                                                     Caster v. Allen, No. 23-12923-D

144) Daun, Margaret C.

145) Davis, James W.

146) Davis, Martha

147) Debevoise & Plimpton LLP

148) DeBouse, Bobby Lee

149) Dechert LLP

150) DeConcini, Sen. Dennis W.

151) Defner, Armand

152) DeFord, Daryl R.

153) de Leeuw, Michael B.

154) De León, Jacqueline

155) de Nevers, Orion

156) Dentons Sirote PC

157) Dhillon, Harmeet K.

158) Dhillon Law Group, Inc.

159) Diaz, Gabriel

160) Dicello Levitt Gutzler

161) Dickinson Wright, PLLC

162) District of Columbia

163) Dowdy, Shalela

164) Dreeben, Michael R.

                                     C-8 of 28
USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023   Page: 10 of 32
                                                     Caster v. Allen, No. 23-12923-D

165) Dunn, Chad W.

166) Dunn, David

167) Durbin, Sen. Richard J.

168) Duren, Colby

169) Durenberger, Sen. David F.

170) Duvernay, Stephen M.

171) Ebenstein, Julie A.

172) Echohawk, John E.

173) Edward Still Law Firm LLC

174) Elias Law Group LLP

175) Elias, Marc E.

176) Elliot, Mara W.

177) Ellison, Hon. Keith

178) Ellsworth, Jessica L.

179) Elmendorf, Christopher S.

180) Ely, Hon. David R.

181) Englert, Jr., Roy T.

182) Escalona, Hon. Prim F.

183) Espy, Benjamin J.

184) Espy, III, Joseph C.

185) Espy, William M.

                                     C-9 of 28
USCA11 Case: 23-12923       Document: 14   Date Filed: 09/26/2023   Page: 11 of 32
                                                    Caster v. Allen, No. 23-12923-D

186) Faegre Drinker Biddle & Reath LLP

187) Fair Housing Center of Northern Alabama

188) Faulks, LaTisha Gotell

189) Ferguson, Hon. Robert W.

190) Feuer, Michael N.

191) Fitch, Hon. Lynn

192) Fitzgerald, Michael W.

193) Fletcher, Brian H.

194) Flynn, Erin H.

195) Ford, Hon. Aaron D.

196) Forero-Norena, Mateo

197) Forstein, Carolyn M.

198) Fox, David R.

199) Fram, Robert

200) Frasure, Lorrie

201) Frey, Hon. Aaron M.

202) Friedman, Lee Turner

203) Frosh, Hon. Brian E.

204) Fulginiti, Emily

205) Gaber, Mark P.

206) Gaines, Rep. Houston

                                   C-10 of 28
USCA11 Case: 23-12923       Document: 14   Date Filed: 09/26/2023   Page: 12 of 32
                                                    Caster v. Allen, No. 23-12923-D

207) Gans, David H.

208) Garth, Andrew W.

209) Garza, Delia

210) Gbe, Harmony A.

211) Genberg, Jack

212) Gershenson, Adam S.

213) Gillespie, Noah N.

214) Glavin, Emily

215) Gold, Dara

216) Goldstein, Samuel B.

217) Gordon, Phillip M.

218) Gorod, Brianne J.

219) Gray, Fred D.

220) Greater Birmingham Ministries

221) Green, Jeffrey T.

222) Greenbaum, Jon M.

223) Greenwood, Ruth

224) Griffin, Mark D.

225) Haas, Michael

226) Hamilton, Gene P.

227) Hare, Eli J.

                                   C-11 of 28
USCA11 Case: 23-12923       Document: 14   Date Filed: 09/26/2023   Page: 13 of 32
                                                    Caster v. Allen, No. 23-12923-D

228) Harris County Attorney’s Office

229) Harris, A. Reid

230) Harris, Jeffrey Matthew

231) Hartnett, Kathleen

232) Harvard Law School Election Law Clinic

233) Hauenschild, Jonathon P.

234) Healey, Hon. Maura

235) Heard, Bradley E.

236) Hebert, J. Gerald

237) Herren, Jr., T. Christian

238) Hewitt, Damon T.

239) Hinds-Radix, Sylvia O.

240) Hirsch, Sam

241) Ho, Hon. Dale E.

242) Hogan Lovells US LLP

243) Holtzman Vogel Baran Torchinsky & Josefiak, PLLC

244) Holwell Shuster & Goldberg LLP

245) Holzrichter, Mitch

246) Hunt, Darnell

247) Hurwitz, Jonathan H.

248) Igra, Naomi

                                   C-12 of 28
USCA11 Case: 23-12923       Document: 14   Date Filed: 09/26/2023   Page: 14 of 32
                                                    Caster v. Allen, No. 23-12923-D

249) Jackson, Letitia

250) Jackson, Sidney M.

251) Jacobsen, Cassandra M.

252) James, Hon. Letitia

253) Jasrasaria, Jyoti

254) Jenner & Block LLP

255) Jennings, Hon. Kathleen

256) Johnson, Hayden

257) Johnson, Kristen A.

258) Jonathan L. Williams, P.A.

259) Jones, Benjamin

260) Jordan, Albert L.

261) Justman, Jeffrey P.

262) Kadoura, Justin

263) Kaul, Hon. Joshua L.

264) Kelson, Jared M.

265) Kennedy, Sandra

266) Kennedy, Sen. John F.

267) Khan, Joseph J.

268) Khanna, Abha

269) Klein, Benjamin

                                   C-13 of 28
USCA11 Case: 23-12923      Document: 14    Date Filed: 09/26/2023   Page: 15 of 32
                                                     Caster v. Allen, No. 23-12923-D

270) Klein, Zach

271) Klipper, Michael R.

272) Knudsen, Hon. Austin

273) Kousser, J. Morgan

274) Kramer Levin Robbins Russell

275) Kubiak, Krysia

276) LaCour Jr., Edmund G.

277) Lakin, Sophia Lin

278) Landry, Hon. Jeff

279) LaPorta, Jordan A.

280) Lawkowski, Gary M.

281) Lawsen, Nicki Leili

282) Lawyers Democracy Fund

283) Lawyers’ Committee for Civil Rights under Law

284) League of Women Voters of Alabama

285) League of Women Voters of the United States

286) Leahy, Sen. Patrick

287) Lee, Theresa J.

288) Lewis, Davante

289) Lewis, Patrick T.

290) Li, Michael C.

                                    C-14 of 28
USCA11 Case: 23-12923         Document: 14   Date Filed: 09/26/2023   Page: 16 of 32
                                                      Caster v. Allen, No. 23-12923-D

291) Livengood, Rebecca

292) Livingston, Sen. Steve

293) Lockhead, Tanner

294) Louard, Janette

295) Love, Rodney Allen

296) Lowe, Clee Earnest

297) Madduri, Lalitha D.

298) Malhi, Jaywin Singh

299) Manasco, Hon. Anna M.

300) Marcus, Hon. Stanley

301) Marshall, Hon. Steve

302) Marshall, Mary E.

303) Masuoka, Natalie

304) Mayer Brown, LLP

305) Maynard Cooper & Gale, P.C.

306) McClendon, former Sen. Jim

307) McCotter, R. Trent

308) McCrary, Peyton

309) McDougle, Sen. Ryan

310) McDowell, Ephraim

311) McKay, Charles A.

                                     C-15 of 28
USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023   Page: 17 of 32
                                                     Caster v. Allen, No. 23-12923-D

312) McKinney, Charles

313) McPhee, Shae

314) McSherry, Erin K.

315) McTootle, Arielle

316) Meehan, Taylor

317) Meeks, Rep. Gregory

318) Mehr, Benjamin I.

319) Mellett, Timothy F.

320) Melton Espy & Williams PC

321) Menefee, Christian D.

322) Menefee, Larry T.

323) Merrill, Hon. John H.

324) Messick, Misty S. Fairbanks

325) Michel, Arturo, G.

326) Michel, Christopher G.

327) Miller, Jonathan B.

328) Milligan, Evan

329) Mills, Christopher E.

330) Milwaukee County, Wisconsin

331) Mink, Richard

332) Mollman, Alison Nicole

                                    C-16 of 28
USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023   Page: 18 of 32
                                                     Caster v. Allen, No. 23-12923-D

333) Moore, Rep. Barry

334) Moore, Rep. Timothy K.

335) Moorer, Hon. Terry F.

336) Moorer, Regina M.

337) Morgan, Anne L.

338) Morrisey, Hon. Patrick

339) Morrison & Foerster LLP

340) Moten, Derryn

341) Murkowski, Sen. Lisa

342) Murrill, Elizabeth B.

343) NAACP (National Headquarters)

344) NAACP Legal Defense and Educational Fund, Inc.

345) NAACP Louisiana State Conference

346) Naifeh, Stuart

347) Nairne, Dorothy

348) Natarajan, Ranjana

349) National Congress of American Indians

350) National Republican Redistricting Trust

351) Native American Rights Fund

352) Neas, Ralph G.

353) Neiman, Jr., John C.

                                    C-17 of 28
USCA11 Case: 23-12923      Document: 14   Date Filed: 09/26/2023   Page: 19 of 32
                                                    Caster v. Allen, No. 23-12923-D

354) Nelson, Janai S.

355) Neronha, Hon. Peter F.

356) Nessel, Hon. Dana

357) Nwachukwu, Jennifer

358) O’Connor, Hon. John

359) O’Melveny & Myers LLP

360) O’Neil, David A.

361) Okinedo, Denzel Efemena

362) Olson, Lyndsey M.

363) Olsson, Jon

364) Ordway, Demian A.

365) Osher, Daniel C.

366) Overing, Robert M.

367) Palmer, Rep. Gary

368) Palmore, Joseph R.

369) Pantazis, Christina Rossi

370) Pardue, Andrew

371) Park, Jr., John J.

372) Parker, Barbara J.

373) Paul, Weiss, Rifkind, Wharton & Garrison LLP

374) Paxton, Hon. Ken

                                  C-18 of 28
USCA11 Case: 23-12923         Document: 14    Date Filed: 09/26/2023   Page: 20 of 32
                                                       Caster v. Allen, No. 23-12923-D

375) Penn & Seaborn LLC

376) Penn, Myron C.

377) Pérez, Efrén

378) Persily, Dr. Nathaniel

379) Peterson, Hon. Doug

380) Phatak, Ashwin P.

381) Phelan, Rep. Dade

382) Phillips, Graham E.

383) Phillips, Kaylan

384) Platkin, Hon. Matthew J.

385) Pol, Jr., Rodney

386) Polio, Dennis

387) Posimato, Joseph N.

388) Powell, Manasseh

389) Power Coalition for Equity and Justice

390) Prelogar, Hon. Elizabeth B.

391) Presidential Coalition

392) Price, Savannah

393) Price, Shannon

394) Pringle, Rep. Chris

395) Project on Fair Representation

                                      C-19 of 28
USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023   Page: 21 of 32
                                                     Caster v. Allen, No. 23-12923-D

396) Pryor, Thomas K.

397) Public Interest Legal Foundation

398) Public Rights Project

399) Quigley, William P.

400) Quillen, Henry C.

401) Quinn, Connor, Weaver, Davies & Rouco LLP

402) Racine, Hon. Karl A.

403) Raoul, Hon. Kwame

404) Reed, Dr. Joe L.

405) Reed, Mayor Steven L.

406) Relman Colfax PLLC

407) Republican National Committee

408) Reyes, Bernadette

409) Reyes, Hon. Sean

410) Richardson, Valencia

411) Riggs, Allison

412) Riser, R. Volney

413) Robinson, Press

414) Roeck, Victoria

415) Rogers, Rep. Mike

416) Rokita, Hon. Todd

                                    C-20 of 28
USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023   Page: 22 of 32
                                                     Caster v. Allen, No. 23-12923-D

417) Rosborough, Davin M.

418) Rosenberg, Ezra D.

419) Rosenblum, Hon. Ellen F.

420) Ross, Deuel

421) Rouco, Richard P.

422) Roy, Marissa

423) Rubinstein, Reed D.

424) Rudensky, Yurij

425) Rupp, Michelle

426) Rutahindurwa, Makeba

427) Rutledge, Hon. Leslie

428) Sabel Law Firm, LLC

429) Sabel, Jr., Mark W.

430) Sadasivan, Kathryn

431) Sagar, Jo-Ann Tamila

432) Sanders, former Sen. Henry “Hank”

433) Sanders, Jarmal Jabbar

434) Savitt, Adam P.

435) Schmitt, Hon. Eric

436) Schnapper-Casteras, John Paul

437) Schnapper-Casteras PLLC

                                     C-21 of 28
USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023   Page: 23 of 32
                                                     Caster v. Allen, No. 23-12923-D

438) Schulte Roth & Zabel LLP

439) Schwarzenegger, Hon. Arnold

440) Scodro, Michael A.

441) Sedwick, Olivia N.

442) Segura, Gary M.

443) Seiss, Benjamin M.

444) Sellers, Rep. Patrick

445) Sells, Bryan L.

446) Sen, Maya

447) Sewell, Rep. Terri

448) Shapiro, Carolyn E.

449) Shapiro, Hon. Josh

450) Shea, James L.

451) Sheehy, Shawn T.

452) Shikada, Hon. Holly T.

453) Short, Caren E.

454) Sidley Austin LLP

455) Sims, Ambrose

456) Sinclair, Winfield J.

457) Singleton, Sen. Bobby

458) Slagter, Paulina

                                    C-22 of 28
USCA11 Case: 23-12923       Document: 14     Date Filed: 09/26/2023   Page: 24 of 32
                                                      Caster v. Allen, No. 23-12923-D

459) Slay, Leonette W.

460) Smith, Brenton M.

461) Smith, Paul M.

462) Smith, Ronald

463) Smitherman, Sen. Rodger

464) Southern Coalition for Social Justice

465) Southern Poverty Law Center

466) Spero Law LLC

467) Spies, Charles R.

468) Spital, Samuel

469) Stand-Up Mobile

470) State of Arizona

471) State of Arkansas

472) State of California

473) State of Colorado

474) State of Connecticut

475) State of Delaware

476) State of Georgia

477) State of Hawaii

478) State of Illinois

479) State of Indiana

                                    C-23 of 28
USCA11 Case: 23-12923         Document: 14   Date Filed: 09/26/2023   Page: 25 of 32
                                                      Caster v. Allen, No. 23-12923-D

480) State of Louisiana

481) State of Maine

482) State of Maryland

483) State of Michigan

484) State of Minnesota

485) State of Mississippi

486) State of Missouri

487) State of Montana

488) State of Nebraska

489) State of Nevada

490) State of New Jersey

491) State of New York

492) State of Oklahoma

493) State of Oregon

494) State of Rhode Island

495) State of South Carolina

496) State of Texas

497) State of Utah

498) State of Vermont

499) State of Washington

500) State of West Virginia

                                     C-24 of 28
USCA11 Case: 23-12923       Document: 14   Date Filed: 09/26/2023   Page: 26 of 32
                                                    Caster v. Allen, No. 23-12923-D

501) State of Wisconsin

502) States United Democracy Center

503) Stein, Gary

504) Steiner, Neil A.

505) Stephanopoulos, Nicholas O.

506) Stewart, Celina

507) Stewart, Shelita M.

508) Still, W. Edward

509) Stock, Danielle A. Gentin

510) Stone, Khadidah

511) Strong, Rep. Dale

512) Sun, Christine P.

513) Sundararajan, Anagha

514) Tan, Caroline W.

515) Taticchi, Mark D.

516) Thomas, Wendell

517) Thompson, Blayne R.

518) Thornton, J. Mills

519) Tong, Hon. William

520) Torchinsky, Jason Brett

521) Travis County, Texas

                                   C-25 of 28
USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023   Page: 27 of 32
                                                     Caster v. Allen, No. 23-12923-D

522) Trento, Andrea W.

523) Tuetken, Adam J.

524) Turner, Reginald M.

525) Turrill, Michael Lovejoy

526) Tyson, Hon. Sheila D.

527) U. W. Clemon, LLC

528) UCLA Voting Rights Project

529) Underwood, Barbara D.

530) United States Department of Justice

531) United States of America

532) Vale, Judith N.

533) Van Zile, Caroline S.

534) Veroff, Julie

535) Wahl, John

536) Waknin, Sonni

537) Walker, Andrew

538) Walker, J. Dorman

539) Walker, Johannah

540) Wallace, Jordan, Ratliff and Brandt, LLC

541) Ward, Mayor Jason Q.

542) Warrington, David A.

                                    C-26 of 28
USCA11 Case: 23-12923         Document: 14   Date Filed: 09/26/2023   Page: 28 of 32
                                                      Caster v. Allen, No. 23-12923-D

543) Warshaw, Christopher S.

544) Washington, Alice

545) Washington, Brian E.

546) Watkins, Hon. W. Keith

547) Webster, Anjali D.

548) Weisberg, Liza

549) Weiser, Hon. Philip J.

550) Weitzman, Samuel E.

551) Welborn, Kaitlin

552) Weld, Hon. William F.

553) Wenger, Edward M.

554) West, Marisa

555) Whatley, Jr., Joe R.

556) Whatley Kallas LLP

557) Whisler, Megan

558) White Arnold & Dowd, PC

559) White, J. Mark

560) Whitman, Hon. Christine Todd

561) Widell, Jr., Robert W.

562) Wides, Burton V.

563) Wiggins Childs Pantazis Fisher & Goldfarb, LLC

                                     C-27 of 28
USCA11 Case: 23-12923        Document: 14   Date Filed: 09/26/2023       Page: 29 of 32
                                                       Caster v. Allen, No. 23-12923-D

564) Wilcox, Rep. J.T.

565) Williams, Ayana D.

566) Williams, Edward

567) Williams, James R.

568) Williams, Jonathan L.

569) Wilmer Cutler Pickering Hale and Dorr LLP

570) Wilson, Hon. Alan

571) Wilson, Thomas A.

572) Winfrey, Adia

573) Woodfin, Mayor Randall

574) Wydra, Elizabeth B.

575) Young, Hon. Susanne R.

576) Zepeda-Millán, Chris

577) Ziegler, Donna R.

578) Zimmermann, Diandra “Fu” Debrosse

   Respectfully submitted this 26th day of September 2023.

                                      /s/ Edmund G. LaCour Jr.
                                      Edmund G. LaCour Jr.
                                      Counsel for Secretary of State Wes Allen




                                    C-28 of 28
USCA11 Case: 23-12923       Document: 14      Date Filed: 09/26/2023        Page: 30 of 32


        APPELLANT’S MOTION TO WITHDRAW APPELLANT’S
       TIME SENSITIVE MOTION FOR STAY PENDING APPEAL
      On September 11, 2023, Appellant Secretary of State Wes Allen filed his Time

Sensitive Motion for Stay Pending Appeal. See Doc. 4. Appellant hereby withdraws that

motion.

Dated: September 26, 2023                    Respectfully submitted,

                                             /s/ Edmund G. LaCour Jr.

                                             Steve Marshall
                                               Attorney General
                                             Edmund G. LaCour Jr.
                                               Solicitor General
                                             James W. Davis
                                               Deputy Attorney General
                                             Misty S. Fairbanks Messick
                                             Brenton M. Smith
                                             Benjamin M. Seiss
                                               Assistant Attorneys General
                                             OFFICE OF THE ATTORNEY GENERAL
                                             501 Washington Avenue,
                                             Montgomery, AL 36130
                                             (334) 242-7300
                                             Edmund.LaCour@AlabamaAG.gov

                                             Counsel for Secretary of State Allen




                                         1
USCA11 Case: 23-12923       Document: 14      Date Filed: 09/26/2023      Page: 31 of 32
                                                       Caster v. Allen, No. 23-12923-D

                       CERTIFICATE OF COMPLIANCE
      This motion complies with Rule 27(d)(2) because it contains 39 words, excluding

the parts that can be excluded. This motion complies with Rule 32(a)(5)-(6) because it

has been prepared in a proportionally spaced face using Microsoft Word 2016 in 14-

point Garamond font.

      Dated: September 26, 2023                      /s/ Edmund G. LaCour Jr.
                                                     Edmund G. LaCour Jr.
                                                     Counsel for Secretary of State Allen




                                          2
USCA11 Case: 23-12923          Document: 14      Date Filed: 09/26/2023      Page: 32 of 32
                                                           Caster v. Allen, No. 23-12923-D

                            CERTIFICATE OF SERVICE
        I filed this brief with the Court via ECF, which will electronically notify all par-

ties.

        Dated: September 26, 2023                       /s/ Edmund G. LaCour Jr.
                                                        Edmund G. LaCour Jr.
                                                        Counsel for Secretary of State Allen




                                             3
